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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY

                                                        CIV No.: 2:23-CV-21849-CCC-JRA
       DAVID J. LORENZO,
                                                                        A Civil Action
                             Plaintiff
                                                                           ORDER
       vs.

       THE BOROUGH OF PALISADES
       PARK, NEW JERSEY; CHONG
       PAUL KIM (individually and in his
       official capacity as Mayor of the
       Borough of Palisades Park, New
       Jersey); and SUK “JOHN” MIN
       (Individually and in his official
       capacity as a member of the Borough
       Council of Palisades Park, New Jersey)

                             Defendants.

             This matter having come before the Court on a motion by R. Scott Fahrney, Esq., of the

      Law Firm of Semeraro & Fahrney, LLC, Attorneys for Defendants, The Borough of Palisades

      Park, Chong Paul Kim, and Suk “John” Min, for an Order extending Defendants’ time to file a

      response to Plaintiffs’ Complaint to January 16, 2024, pursuant to Fed. R. Civ. P. 7(b) and L. Civ.

      R. 7(m); and the Court having considered the papers submitted herein; and this matter being

      decided under Fed. R. Civ. P. 78; and for good cause shown;

             IT IS on this ______ day of ____________, 2023;

             ORDERED that Defendants’ Motion to Extend Time to answer or otherwise plead is

      hereby GRANTED; it is further




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             ORDERED that Defendants’ response to Plaintiff’s Complaint shall be filed on or before

      January 16, 2024; and it is further ORDERED that a copy of this Order shall be served upon all

      parties via ECF.

       ________
       Unopposed

       ________                                         __________________________________
       Opposed                                          Hon. Claire C. Cecchi, U.S.D.J.




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                                                                                             #3283112
